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                     United States District Court for the Northern District of Illinois


        Case Number: 1:14-cr-00287                      Assigned/Issued By: CR

        Judge Name: NORGLE                              Designated Magistrate Judge: KIM


                                                FEE INFORMATION


    Amount Due:                  $402.00             $49.00            $5.00

                                 IFP                 No Fee                Other

                                 $505.00

    Number of Service Copies                                  Date:

                                          (For Use by Fiscal Department Only)

    Amount Paid:                                              Receipt #:

    Date Payment Rec’d:                                       Fiscal Clerk:


                                                     ISSUANCES

                  Summons                                              Alias Summons

                  Third Party Summons                                  Lis Pendens

                  Non Wage Garnishment Summons                         Abstract of Judgment

                  Wage-Deduction Garnishment Summons

         ✔        Citation to Discover Assets                                 (Victim, Against and $ Amount)


                  Writ
                             (Type of Writ)


  1         Original and 0               copies on 10/12/2021         as to ASIF A ASLAM
                                                         (Date)
   (NO NOTICE)



Rev. 08/19/2016
